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     Counsel for Plaintiffs
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 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
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12   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
13                                                ATTORNEY DECLARATION OF
                                Plaintiff,        EDWARD NORMAND IN
14                                                OPPOSITION TO DEFENDANTS’
                   v.
                                                  MOTION TO STRIKE
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     DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION, and DOMINIC WILLIAMS,            Date:      April 6, 2023
16                                                Time:      10:00 a.m.
                                Defendants.       Courtroom: 11, 19th Floor
17                                                Judge:     Hon. James Donato
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     DECLARATION OF EDWARD NORMAND IN OPPOSITION TO DEFENDANTS’ MOTION
                        TO STRIKE – No. 3:21-cv-06118-JD
 1                             DECLARATION OF EDWARD NORMAND
 2          I, Edward Normand, declare:
 3          1.     I am an attorney admitted in New York and pro hac vice to appear before this Court.
 4   I am a partner with the law firm Freedman Normand Friedland LLP (f/k/a Roche Freedman LLP)
 5   (“FNF”), counsel to Plaintiffs in this action. I submit this declaration on my own personal
 6   knowledge. If called to testify to the matters herein, I could and would competently do so.
 7          2.     I submit this declaration in opposition to Defendants’ Motion to Strike.
 8          3.     Attached hereto as Exhibit 1 is a true and correct copy of a declaration from FNF’s
 9   General Counsel, Eric Rosen.
10          I declare under penalty of perjury under the laws of the United States that the foregoing is
11   true and correct to the best of my knowledge.
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     Dated: March 13, 2023                       Respectfully Submitted,
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                                                 FREEDMAN NORMAND FRIEDLAND LLP
14
                                                 /s/ Edward Normand
15                                               Edward Normand
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                                                 Counsel for Plaintiffs and the Class
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     DECLARATION OF EDWARD NORMAND IN OPPOSITION TO DEFENDANTS’ MOTION
                        TO STRIKE – No. 3:21-cv-06118-JD
